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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 UNITED STATES OF AMERICA                           CASE NOS.: 5:18-CR-448

      Plaintiff                                     JUDGE BENITA Y. PEARSON

 v.                                                 MOTION TO COMPEL

 PHILIP M. POPA, JR.,

      Defendant

        Now comes the Defendant Philip M. Popa, Jr., by and through the undersigned counsel,

and hereby moves this Court to Order the Government to produce information regarding Freenet

software, which is the computer software program utilized by the Government during the course

of its investigation of Mr. Popa. Mr. Popa makes this Motion pursuant to Federal Rules of Criminal

Procedure Rule 16 in addition to Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States,

405 U.S. 150 (1972) and the Fifth, Sixth and Fourteenth Amendments to the United States

Constitution. The items requested constitute documents or data that is material to preparing a

defense against the Government’s case-in-chief at trial. This Motion is supported by the

Memorandum in Support, which is attached hereto and incorporated herein by express reference.

                                             Respectfully submitted,
                                             WILLIAM T. WHITAKER CO. LPA

                                             /s/Andrea Whitaker
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was electronically filed this 6th day of February,

2019. Notice of this filing will be sent to all parties by operation of the Court’s electronic filing

system.



                                               /s/ Andrea Whitaker
                                               Andrea Whitaker




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                               MEMORANDUM IN SUPPORT

       I.      FACTS

       Defendant, John Popa, is charged with one count receipt of visual depictions of real minors

engaged in sexually explicit conduct in violation of 18 U.S.C. § 2252(a)(2) and one count of

possessing child pornography in violation of 18 U.S.C. § 2252A(a)(5)(B). The Government’s

discovery response and Affidavit in Support of the Search Warrant refer to Freenet as the computer

software program used by law enforcement.

       On July 17, 2018, Ryan D. Anschutz, a Task Force Officer in the Federal Bureau of

Investigation applied for a search warrant to search and seize evidence at 533 Redwood St SW,

Beach City, Ohio 44608. See Search Warrant and Affidavit attached hereto as Exhibit A. The

request for a warrant was supported by an affidavit signed by Agent Anschutz. In the affidavit,

the Affiant (Agent Anschutz) avers that there is probable cause to believe that a user of an IP

address at this address has received, possessed, and/or distributed child pornography. Ex., A,

Affidavit in Support of Search Warrant (“Affidavit”), ¶ 3. The Affidavit contains the Affiant’s

experience, a description of the place to be searched and the items to be seized, and definitions of

terms contained there.

       The Affidavit also contains an explanation of “Freenet.” According to the Affiant, it is “an

Internet-based, peer-to-peer (P2P) network that allows users to anonymously share files, chat on

message boards, and access websites within the network.” Ex. A, Affidavit, ¶7. The Affiant further

explains that in “order to access Freenet, a user must first download the Freenet software, which

is free and publicly available. The Freenet 'source code" - i.e., the computer programming code

that facilitates Freenel's operation - is also publicly available. In other words, Freenet is 'open

source" software that may be examined and analyzed by anyone with the pertinent expertise or




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knowledge.” Id. at ¶ 8. The Affidavit then goes on to explain a Freenet user may be an “original

requestor” of a file or one that “is merely forwarding the request of another user.” Id. at ¶ 12.

       This fact, and the Affiant’s knowledge of it, is of the upmost importance because it

indicates that some “requests” for files, including child pornography, happen without the users

knowledge or consent. The Affiant recognizes that law enforcement must be able to distinguish

between the two types of requests in order to identify where there is probable cause that a user is

requesting illegal material. Id.

       In fact, “Freenet attempts to hide which computer uploaded a file into or downloaded a file

from the network by making it difficult to differentiate whether a request for a piece that comes in

from a peer originated with that peer (Le., the peer was the "original requestor" of the file), or

whether that peer was simply forwarding a different peer's request.” Id. at ¶ 14. “Freenet attempts

to hide the identity of the original requestor by randomizing the initial number of times a request

can be forwarded from one peer to another to be either 17 or 18. Without this randomization, any

time a user received a request for a piece of a file that could be forwarded 18 times, the user would

know that its peer was the original requestor of the file.” Id.

       According to the Affidavit, a “modified version of the Freenet software is available to

sworn law enforcement officers to assist in conducting Freenet investigations.” Id. at ¶ 20. Using

that modified version of Freenet, in April, 2018 , Agent Anschutz identified “a computer running

Freenet software, with an IP address of 173.90.126.69, with 13.1 peers, requested from a law

enforcement computer 136 out of 1786 total pieces needed to assemble a file with a SHA1 digital

hash value of ATLOOVASIDQV6JPNOK4Z3MTKWGYFYS6W.” Affidavit, ¶ 27. In other

words, the computer at the suspect IP address reportedly requested less than .075% of a file. Officer




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Anschutz then downloaded the completed file from another source and described the completed

file in the Affidavit. Id. This activity occurred for several additional files. Id. at ¶¶ 28-29.

        The Affidavit then indicates that “[u]sing publicly available search tools, law enforcement

determined that IP address 173.90.126.69 was controlled by Internet Service Provider ("ISP') Time

Warner Cable.” Id. at 32. The Affiant then issued an administrative subpoena sent “Time Warner

Cable for the date and times that the above-described files were downloaded” and found that the

“IP address was assigned to the account registered to ‘James Skelly,' at the PREMISES, email

addresswowsaddie@twc.com. Telephone number 330-324-4421, account number 206389203 and

the active IP address date of 12119/2017.” Id. at 33

        Thereafter, Agent Anschutz prepared the Affidavit in support of his request for a search

warrant on July 17, 2018. The Affidavit was submitted to and approved by a Magistrate Judge of

the United States District Court for the Northern District of Ohio that same day. On July 17, 2018,

law enforcement officers executed the search warrant at Mr. Popa’s residence and seized several

items, which were subsequently forensically analyzed by law enforcement agents.                    Law

enforcement officers also arrested and obtained a statement from Mr. Popa.

        As a result of the Government’s investigation in this case, Mr. Popa was indicted on August

14, 2018 with the foregoing offenses. After receiving the Government’s initial discovery response,

defense counsel retained the services of a local expert at defense counsel’s expense. Consultation

with the expert and a review of the discovery identified several issues for pretrial motions.

However, the expert had little experience with Freenet. Mr. Popa’s counsel requested a copy of

the law enforcement modified version of Freenet. The Government indicated that the law

enforcement software was not discoverable.




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        As the undersigned was preparing the pretrial motions, she was referred to Tami Loehrs of

Loehrs Forensics, L.L.C. as someone with potentially more experience with Freenet.                   The

undersigned immediately contacted Ms. Loehrs and provided her with a copy of the discovery to

determine if additional issues were significant to Mr. Popa’s defense. Ms. Loehrs reviewed the

discovery and provided an Affidavit of her initial findings. See Affidavit of Tami Loehrs (TL

Affidavit”) attached hereto as Exhibit B. Ms. Loehrs identified several issues heretofore unknown

to the undersigned and indicated that it would be necessary to conduct an independent forensic

examination of the electronic evidence that was seized in connection with the search warrants. Ms.

Loehrs has extensive experience conducting forensic examinations in child pornography cases and

is acutely familiar with the investigative aspects of such cases, including the Government’s use of

proprietary investigative software. Simultaneously with the filing of this Motion, Mr. Popa is

filing a Motion to Suppress, with leave to supplement, and a Motion to Appoint Ms. Loehrs as an

expert for Mr. Popa.

        Based upon her review of the discovery as well as her prior experience with law

enforcement’s use of modified software programs, Ms. Loehrs opines that an independent forensic

examination of the law enforcement version of the Freenet Software is necessary in order to

determine the validity and/or reliability of the Government’s forensic evidence and to assess the

information provided in the Affidavit in support of the search warrant. As she notes, in her

“forensic training, some of which has come directly from law enforcement, [she has] been taught

that [she] cannot rely on a tool (software) that has not been properly tested and validated by [her]

and is not available for testing and validation by [her] industry peers.” TL Aff., ¶ 21. Ms. Loehrs,

however, goes farther than to just note that it is best practice, as noted herein, she identifies specific

concerns regarding the law enforcement Freenet that require an independent analysis.




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       Specifically, Ms. Loehrs notes that she has “worked on hundreds of cases throughout the

country involving law enforcement’s investigations of P2P and BitTorrent file sharing networks,

including the use of Freenet, which has brought to light serious issues with regard to the accuracy

and reliability of the proprietary software used by law enforcement to conduct these investigations

and whether that software is going beyond information that is publicly available as well as

reporting false information regarding files that do not exist on a suspect computer and/or do not

contain child pornography.” TL Aff, ¶ 7. She is concerned that, in “spite of this, Officer Anschutz

avers in his Affidavit that the IP address associated with Mr. Popa contains child pornography

based on incomplete files reported by his law enforcement tool and then describes completed files

that he downloaded from other sources.” Id. at 15.

       Agent Anschutz refers to the “law enforcement’s tool” used to analyze the network and an

allegedly peer reviewed article that allow him to come to the conclusion that is significantly more

probable than not that the suspect IP address was the original requestor of the child pornography

files. “However, Officer Anschutz provides no information regarding “law enforcements tool”,

including whether that tool has been tested and validated, nor does he provide any log files created

by the law enforcement tool as foundation for his opinions.” T.L. Aff, ¶ 16. Moreover, the Affiant

refers to a “peer-reviewed, publicly-available academic paper describing the methodology of that

mathematical formula.” Affidavit, ¶ 24. While the Government has provided the paper to the

undersigned, there has been no response to the request for evidence that the paper was peer-

reviewed. The undersigned has been unable to locate any such review in her own research.

       As noted by Ms. Loehrs, “it is critical to Mr. Popa’s defense to understand how law

enforcement’s proprietary tool functions in order to determine its reliability and accuracy in

identifying files that Officer Anschutz claims originated from Mr. Popa’s IP address.” Id. at ¶ 17.




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She also refers to logs created by “law enforcement’s proprietary tools” documenting activity

“which could be analyzed to corroborate or refute Officer Anschutz’s conclusions.” Id. at 16.

Additionally, Freenet “creates detailed logs of activity that could be analyzed to corroborate or

refute Officer Anschutz’s conclusions although no Freenet logs.” Id. To date, no such logs have

been produced. However, to be fair, until the undersigned spoke to Ms. Loehrs, she was not aware

that such logs existed to be able to request them.

       As the foregoing information establishes, counsel has requested the law enforcement

version of Freenet and has been told that it is not discoverable. The Government indicates that

they will not provide software as requested. For the reasons that follow, Mr. Popa respectfully

requests that this Honorable Court issue an Order compelling the Government to disclose and/or

produce this forthwith. Upon receipt, Mr. Popa will then request that the Government make

available the computer seized in July of 2018 for Ms. Loehrs to conduct an independent forensic

analysis.

       II.     LAW AND ARGUMENT

       Rule 16 of the Federal Rules of Criminal Procedure states that a criminal defendant has the

right to inspect all documents, data, or tangible items within the Government’s “possession,

custody, or control” that are “material to preparing the defense.” Fed. R. Crim.P. 16(a)(1)(E).

Evidence is “material” if it is “helpful” to the development of a possible defense. See United States

v. Olano, 62 F.3d 1180, 1203 (9th Cir. 1995); see also United States v. Dobbins, 482 Fed. Appx.

35, 41 (6th Cir. 2012). In Brady v. Maryland, 373 U.S. 83, 87 (1963), the United States Supreme

Court ruled that the suppression by the prosecution of evidence favorable to the accused, upon

request for disclosure by the accused, violates due process. The Supreme Court further expanded

an accused’s right to evidence held by the Government in Giglio v. United States, 405 U.S. 150




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(1972), to include evidence that could be used to impeach Government witnesses. Pursuant to Rule

16, Brady and Giglio, the Government is required to produce the requested information regarding

Freenet because it is material to the development of a defense in this case and is necessary in order

to effectively cross-examine the Government’s witnesses at trial.

       Agent Anschutz used the law enforcement version of the Freenet software to identify an IP

address that was alleged to have requested child pornography materials from other Freenet users.

He then used the software to download files from other users on Freenet based upon hash values

that were reported from the suspect IP address.

       As the foregoing establishes, the Freenet software is a critical component of the

Government’s case-in-chief. Moreover, all evidence relied upon to obtain the search warrant –

including the issuance of the Administrative Subpoena to Time Warner Cable as well as the

Affidavit in support of the search warrant – was a product of the Freenet software. To the extent

that the Freenet software erroneously claimed to find that there was child pornography on Mr.

Popa’s computer or from his IP address, law enforcement agents violated Popa’ Fourth

Amendment rights. Assuming this is established, all evidence seized in connection with this

investigation would be subject to suppression. This puts directly at issue the use of the law

enforcement version of Freenet to obtain access to Popa’ computer.

       The flaws identified by Ms. Loehrs in her Affidavit in Freenet would be “material” to

preparing the defense, including pretrial motions, see Fed. R. Crim. P. 16(a)(1)(E), and therefore

subject to disclosure by the Government. See United States v. De Los Santos, 810 F.2d 1326, 1330

(5th Cir. 1987)(holding that evidence is “material” when it would be helpful to the defense in

preparing for trial). These deficiencies would similarly be considered exculpatory and, thus,

subject to disclosure under Brady, supra.




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       In United States v. Budziak, 697 F.3d 1105 (9th Cir. 2012), the Ninth Circuit Court of

Appeals overruled the district court’s refusal to Order the disclosure of discovery relating to a

similar FBI-run computer program in a child pornography distribution case. Id. at 1107. Budziak

filed a Motion to compel the discovery of the technical specifications of the software program as

well as access to a copy of the installable software for an independent forensic review. After these

requests were denied, the agents were permitted to testify concerning their investigation, including

their utilization of the aforementioned software. Id. at 1108. On appeal, the Ninth Circuit remanded

the case back to the district court holding that Budziak had made the requisite showing that such

information was material to his defense of the case: “[g]iven that the distribution charge against

Budziak was premised on the FBI’s use of the EP2P program to download files form him, it is

logical to conclude that the functions of the program were relevant to his defense.” Id. at 1112.

       Further, in order to effectively cross-examine Agent Anschutz on the reliability and

functionality of the law enforcement Freenet software, defense counsel must be provided access

to the software. In Budziak, supra, the Ninth Circuit explained that “access to the EP2P software

was crucial to Budziak’s ability to assess the program and the testimony of the FBI agents who

used it to build the case against him.” Budziak, 697 F.3d at 1112. In this regard, it was not sufficient

that the defendant had the ability to cross-examine the agent at trial because he was denied the

“background material on the software that could have enabled him to pursue a more effective

examination.” Id. The Ninth Circuit found that “a party seeking to impeach the reliability of

computer evidence should have sufficient opportunity to ascertain by pretrial discovery whether

both the machine and those who supply it with data input and information have performed their

tasks accurately.” Id., citing United States v. Liebert, 519 F.2d 542, 547-48 (3rd Cir. 1975) and

United States v. Dioguardi, 428 F.2d 1033, 1038 (2nd Cir. 1970)(“[i]t is quite incomprehensible




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that the prosecution should tender a witness to state the results of a computer’s operations without

having the program available for defense scrutiny and use on cross-examination if desired”).

       Recent decisions from other jurisdictions provide further support for the proposition that

when a Government investigation involves the use of computer software to obtain a search warrant

and eventual Indictment, defendants should be afforded access to the software and its

specifications. See, e.g., United States v. Todd Hartman, 8:15-cr-00063 (U.S. D.C. CA 2015) (doc.

87); United States v. John Crow, 1:11-cr-01690 (U.S. D.C. N.M. 2013) (doc. 88); United States v.

Angel Ocasio, 3:11-cr-02728 (U.S. D.C. W.D. TX 2013) (doc. 150).

       In the case at bar, the defense has specifically articulated concerns regarding the operation

of the Freenet software and its ability to identify if illegal material was obtained by a particular IP

address. Concerns regarding the reliability and functionality of the software are also raised by the

information provided in the discovery materials as identified in Ms. Loehrs’ Affidavit. Mr. Popa

is not obligated to merely rely upon the Government’s representations concerning the reliability

and/or functionality of the software or that his own separate investigation would be unfruitful. See

Budziak, 697 at 1113.

       Because Mr. Popa has made a sufficient showing regarding the relevance and helpfulness

of the discovery materials requested herein at issue, this Court must therefore balance the public’s

interest in protecting the flow of information against the defendant’s right to prepare his or her

defense. United States v. Whitney, 633 F.2d 902, 911 (9th Cir.1980); Roviaro v. United States, 353

U.S. 53, 62 (1957) (“[w]hether a proper balance renders nondisclosure erroneous must depend on

the particular circumstances of each case, taking into consideration the crime charged, the possible

defenses, the possible significance of the [undisclosed evidence], and other relevant factors”).




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       The facts and circumstances of this case are identical to those at issue in Budziak, supra.

In order to assess the reliability and functionality of the Freenet software, assess pretrial motions

and effectively cross-examine Agent Anschutz, the defense must be permitted access to the

program itself. This is especially crucial when the charges “against the defendant [are] predicated

largely on computer software functioning in the manner described by the Government, and the

Government is the only party with access to that software.” Budziak, 697 F.3d at 1113. Agent

Anschutz use of the law enforcement version of Freenet has put the software directly at issue.

       III.       CONCLUSION

       Based upon the foregoing analysis, as well as additional evidence and arguments to be

presented at a hearing on this matter, the undersigned submits that they are entitled to the materials

heretofore requested concerning the software that was utilized by law enforcement in connection

with this case. Accordingly, Mr. Popa respectfully requests that this Honorable Court issue an

Order compelling the Government to provide defense counsel with the following materials and/or

items forthwith:

              •   Any and all log files created by the law enforcement software utilized by Officer

                  Anschutz in his investigation of Freenet for the date of April 21, 2018;

              •   An installable copy of the law enforcement software utilized by Officer Anschutz

                  in his investigation of Freenet for the date of April 21, 2018 for testing and

                  validation or, in the alternative, documentation of testing and validation of the law

                  enforcement software by a qualified third party;

              •   Forensic images of all electronic evidence seized from Mr. Popa for independent

                  examination by Loehrs Forensics to be made available at the FBI facility in

                  Phoenix, Arizona.




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       WHEREFORE, Defendant Popa, hereby respectfully requests that this Honorable Court

issue an Order compelling the Government to produce and provide the above-referenced materials

to defense counsel.

                                           Respectfully submitted,
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